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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                              )   CASE NO. 03-93031-mhm
                                                    )
GROUP MANAGEMENT CORP.,                             )   Chapter 11
a/k/a IVG CORP.,                                    )
                                                    )   JUDGE MARGARET H. MURPHY
               Debtor.                              )
                                                    )
----------------------------------------------------)

                               OPPOSITION TO EMERGENCY
                         MOTION TO REJECT EXECUTORY CONTRACT

           Alpha Capital Aktiengesellschaft (“Alpha”), Amro International, S.A. (“Amro”),

Markham Holdings, Ltd. (“Markham”), and Stonestreet Limited Partnership (“Stonestreet”)

(hereinafter referred to as “Respondents”) hereby submit their Opposition to Emergency

Motion to Reject Executory Contract (the “Emergency Motion”), filed by the Debtor, Group

Management Corp. (“Group Management” or the “Debtor”):

           1.        Group Management has failed to identify any exigent circumstances which

would be alleviated by the emergency relief requested and which would justify

commencement of an emergency hearing.

           2.        The Respondents’ obligations under the Subscription Agreement that Group

Management seeks to reject have been fully performed. Moreover, Group Management’s

obligations under the Subscription Agreement are now fixed by and subject to a November

25, 2002, Order and Judgment, and a March 13, 2003 Contempt Order entered by the United

States District Court for the Southern District of New York in a civil action entitled Alpha

Capital Aktiengesellschaft, et al. v. Group Management Corp., et al., Case Number 02 Civ.



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2219 (LBS). Copies of the Order and Judgment and the Contempt Order are attached hereto

as Exhibits A and B respectively. Once the obligations under a contract have been reduced

to judgment, there is no “executory contract” for a debtor to assume or reject. See

Chattanooga Memorial Park v. Still (In re Jolly) , 574 F.2d 349, 350-52 (6th Cir. 1978), cert.

denied, 439 U.S. 929 (1978); see also Roxse Homes, Inc. v. Roxse Homes Limited

Partnership, 83 B.R. 185, 187-88 (D. Mass. 1988) (and the cases cited therein). Accordingly,

the Emergency Motion of Group Management must be denied because, as a matter of law,

there is no executory contract for Group Management to reject.

           3.        The Respondents have filed an Emergency Motion to Dismiss or, in the

Alternative, for Relief From the Automatic Stay, and Request for Hearing, and a Brief in

support thereof, which fully describe the facts, circumstances and conduct of the Debtor and

its officers and directors relating to the filing of both this case and the Debtor’s Emergency

Motion. Respondent’s Motion should be heard prior to consideration of the Debtor’s

rejection motion.

Dated: April 11, 2003                               Respectfully submitted,


                                                           /s/ Dennis S. Meir
                                                    Dennis S. Meir - Georgia Bar No. 501100
                                                    John W. Mills, III -California Bar No. 149861

                                                    KILPATRICK STOCKTON LLP
                                                    1100 Peachtree Street, Suite 2800
                                                    Atlanta, Georgia 30309
                                                    Tele.: (404) 815-6500; Fax: (404) 815-6555

                                                    COUNSEL TO ALPHA CAPITAL
                                                    AKTIENGESELLSCHAFT, AMRO
                                                    INTERNATIONAL, S.A., MARKHAM
                                                    HOLDINGS, LTD., AND STONESTREET
                                                    LIMITED PARTNERSHIP


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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true copy of this Opposition to Emergency Motion To Reject

Executory Contract was served by Facsimile on the parties below on April 11, 2003.

                                         Sims W. Gordon, Jr.
                                          Gordon & Bo ykin
                                   2130 Kingston Court, SE, Suite B
                                         Marietta, GA 30067
                                        Fax: (770) 612-2627

                                          James H. Morawetz
                                  Office of the United States Trustee
                                 362 Richard Russell Federal Building
                                         75 Spring Street, SW
                                          Atlanta, GA 30303
                                         Fax: (404) 331-4464

                                         Baker & McKenzie
                                     2300 Trammell Crow Center
                                         2001 Ross Avenue
                                          Dallas, TX 75201
                                        Fax: (214) 978-3099

                                    Boise Cascade Office Products
                                         150 E. Pierce Road
                                           Itasca, IL 60143
                                       Fax: 1 (800) 572-6473

Dated: April 11, 2003                               Respectfully submitted,

                                                           /s/ Dennis S. Meir
                                                    Dennis S. Meir -Georgia Bar No. 501100

                                                    KILPATRICK STOCKTON LLP
                                                    1100 Peachtree Street, Suite 2800
                                                    Atlanta, Georgia 30309
                                                    Telephone: (404) 815-6500
                                                    Facsimile: (404) 815-6555

                                                    COUNSEL TO ALPHA CAPITAL
                                                    AKTIENGESELLSCHAFT, AMRO
                                                    INTERNATIONAL, S.A., MARKHAM
                                                    HOLDINGS, LTD., AND STONESTREET
                                                    LIMITED PARTNERSHIP


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